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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

BULGARI, S.p.A.,
                                                       Case No. 18-cv-04376
                       Plaintiff,
                                                       Judge Edmond E. Chang
       v.
                                                       Magistrate Judge Young B. Kim
ZHANG JIANYING, et al.,

                       Defendants.


                     NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Bulgari,

S.p.A. (“Bulgari”) hereby dismisses this action with prejudice as to the following Defendants:

            Defendant Name                                           Line No.
 Dongguan Humen Futuo Accessories Factory                              142


Dated this 7th day of November 2018.         Respectfully submitted,

                                             /s/ Mary F. Fetsco
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